                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:07-CR-84-029
                                                      )
vs.                                                   )
                                                      )       JORDAN/CARTER
HALEY BEAVERS SCOTT                                   )

                                 MEMORANDUM AND ORDER

       The defendant appeared for a hearing before the undersigned on September 15, 2010, in
accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for
Warrant for Offender Under Supervision of U.S. Probation Officer David Croft for the hearing
included:

               (1) AUSA Terra Bay for the USA.
               (2) Defendant Haley Beavers Scott.
               (3) Attorney Ashley Ownby for defendant.
               (4) Deputy Clerk Kelli Jones.

        After being sworn in due form of law the defendant was informed or reminded of her
privilege against self-incrimination accorded her under the 5th Amendment to the United States
Constitution.

        It was determined the defendant wished to be represented by an attorney and she
qualified for the appointment of an attorney to represent her at government expense. Attorney
Ashley Ownby was appointed to represent the defendant. It was determined the defendant had
been provided with a copy of the Petition for Warrant for Offender Under Supervision and the
Warrant for Arrest and had the opportunity of reviewing those documents with her attorney. It
was also determined the defendant was capable of being able to read and understand the copy of
the aforesaid documents he had been provided.

        Defendant waived her right to a preliminary hearing and detention hearing.

       AUSA Bay moved defendant be detained pending a hearing to determine whether her
term of supervision should be revoked.

                                             Findings

        (1) Based upon U.S. Probation Officer David Crofts’ petition and defendant’s waiver
        of preliminary hearing and detention hearing, the undersigned finds there is probable

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  cause to believe defendant has committed violations of his conditions of supervised
  release as alleged in the petition.

                                     Conclusions

  It is ORDERED:

  (1) The defendant shall appear in a revocation hearing before U.S. District Judge
  Leon Jordan.

  (2) The motion of AUSA Bay that defendant be DETAINED WITHOUT BAIL
  pending her revocation hearing before Judge Jordan is GRANTED.

  (3) The U.S. Marshal shall transport defendant to a revocation hearing before Judge
  Jordan, in Knoxville, Tennessee on Monday, September 20, 2010, at 1:30 p.m.

  ENTER.

  Dated: September 15, 2010                    s/William B. Mitchell Carter
                                               UNITED STATES MAGISTRATE JUDGE




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